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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

 Janoblin Brown,                       )     C/A No.: 1:19-2006-BHH-SVH
                                       )
                   Plaintiff,          )
                                       )
       vs.                             )
                                       )                 ORDER
 South Carolina Department of          )
 Corrections, Timothy Jackson,         )
 Damion Gaskin, Laquinta Neals-        )
 Rasberry, and Chelsea McRae,          )
                                       )
                   Defendants.         )
                                       )

      This matter comes before the court on Defendants’ motion to stay

proceedings in this matter pursuant to the Servicemembers Civil Relief Act,

50 U.S.C. § 3901, et seq. (“SCRA”). [ECF No. 59]. The SCRA provides that the

court shall grant a stay of civil proceedings in cases where the application

includes the following:

      (A) A letter or other communication setting forth facts stating the
      manner in which current military duty requirements materially
      affect the servicemember’s ability to appear and stating a date
      when the servicemember will be available to appear.

      (B) A letter or other communication from the servicemember’s
      commanding officer stating that the servicemember’s current
      military duty prevents appearance and that military leave is not
      authorized for the servicemember at the time of the letter.

50 U.S.C. § 3932(b)(2). Plaintiff’s motion states that defendant Gaskin is a

member of the United States Army Reserve and has begun “his specialized


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training and is currently in the process of completing said training outside

the State of South Carolina.” [ECF No. 59 at 1, 3]. The motion does not state

a date when Gaskin will be available to appear and fails to attach a

communication from Gaskin’s commanding officer stating that his military

duty prevents appearance.1 Therefore, because Defendants’ motion does not

comply with the SCRA requirements, it is denied without prejudice.

       IT IS SO ORDERED.




September 30, 2020                         Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge




1 In fact, it is not clear from the motion whether counsel has communicated
with Gaskin. The motion states “It is worth noting the undersigned counsel is
informed to believe that Defendant Gaskin’s wife advised him of receiving the
Summons and Second Amended Complaint, but there is no indication that he
has been provided a copy of the same or any of the correspondence sent by the
undersigned counsel.” [ECF No. 59 at 2].
                                       2
